Case 4:05-cr-00334-SBA     Document 47   Filed 09/13/05               Page 1 of 1




                                                               S DISTRICT
                                                            ATE           C
                                                           T
                                                                                       O
                                                      S




                                                                                        U
                                                     ED




                                                                                         RT




                                                                              ERED
                                                 UNIT




                                                                 O ORD
      September 13, 2005                                  IT IS S
                                                                                                R NIA




                                                                                   Brazil
                                                                         ayne D.
                                                 NO




                                                               Judge W
                                                                                                FO
                                                  RT




                                                                                            LI




                                                          ER
                                                     H




                                                                                        A




                                                               N                            C
                                                                                       F
                                                                   D IS T IC T O
                                                                         R
